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 1   Samuel Maida (SBN 333835)
     HAUSFELD LLP
 2   600 Montgomery Street, Suite
 3   3200 San Francisco, CA 94111
     Tel: 415-633-1908
 4   Fax: 415-358-4980
     Email: smaida@hausfeld.com
 5
     Manuel J. Dominguez (pro hac vice)
 6   COHEN MILSTEIN SELLERS &
 7   TOLL PLLC
     11780 U.S. Highway One, Suite N500
 8   Palm Beach Gardens, FL 33408
     Tel: 561-515-2604
 9   Fax: 561-515-1401
     Email: jdominguez@cohenmilstein.com
10
11   Jeffrey J. Corrigan (pro hac vice)
     SPECTOR ROSEMAN & KODROFF, P.C.
12   2001 Market Street, Suite 3420
     Philadelphia, PA 19103
13   Tel: 215-496-0300
     Fax: 215-496-6611
14
     Email: jcorrigan@srkattorneys.com
15
     Attorneys for Plaintiffs
16
     [Additional Counsel Listed on Signature Page]
17
                                  UNITED STATES DISTRICT COURT
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19                              NORTHERN DISTRICT OF CALIFORNIA

20                                    SAN FRANCISCO DIVISION
21   IN RE: DA VINCI SURGICAL ROBOT               Lead Case No: 3:21-CV-03825-AMO-LB
     ANTITRUST LITIGATION
22                                                PLAINTIFFS’ STATEMENT
                                                  OF RECENT DECISION
23   THIS DOCUMENT RELATES TO:
     ALL ACTIONS                                  Judge: Hon. Araceli Martínez-Olguín
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                                      CASE NO.: 3:21-CV-03825-AMO-LB
                                PLAINTIFFS’ STATEMENT OF RECENT DECISION
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 1          Pursuant to Local Civil Rule 7-3(d)(2), Plaintiffs Larkin Community Hospital, Franciscan
 2   Alliance, Inc., and King County Public Hospital District No. 1 DBA Valley Medical Center
 3   (collectively, “Plaintiffs”) respectfully submit the attached recently issued opinion, In re: Generic
 4   Pharmaceuticals Pricing Antitrust Litigation, No. 16-md-2724 (E.D. Pa. Dec. 3, 2024), in
 5   connection with Plaintiffs’ pending Motion for Class Certification (Under Seal Dkt. 268-1, Public
 6   Dkt. 267), Defendant Intuitive Surgical Inc.’s opposition (Under Seal Dkt. 289-1, Public Dkt. 288),
 7   and Plaintiffs’ Reply in Support of Class Certification (Under Seal Dkt. 297-1, Public Dkt. 296).
 8          Local Civil Rule 7-3(d)(2) provides that, “[b]efore the noticed hearing date, counsel may
 9   bring to the Court’s attention a relevant judicial opinion published after the date the opposition or
10   reply was filed.” L. Civ. R. 7-3(d)(2). The Generics Pharmaceuticals court’s recent opinion
11   excluding the opinions of Dr. James Hughes (pages 18-29) is “a relevant judicial opinion” for the
12   arguments addressed at, inter alia, pages 2-3 and footnote 1 of Plaintiffs’ Reply in Support of
13   Class Certification (Under Seal Dkt. 297-1, Public Dkt. 296).
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     Dated: December 5, 2024                              Respectfully submitted,
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16                                                        /s/ John E. Sindoni
                                                          Michael J. Boni
17                                                        Joshua D. Snyder (pro hac vice)
                                                          John E. Sindoni (pro hac vice)
18                                                        BONI, ZACK & SNYDER LLC
                                                          15 St. Asaphs Road
19
                                                          Bala Cynwyd, PA 19004
20                                                        Tel: 610-822-0200
                                                          Fax: 610-822-0206
21                                                        Email: mboni@bonizack.com
                                                                  jsnyder@bonizack.com
22                                                                jsindoni@bonizack.com
23
                               Counsel for Plaintiffs and the Proposed Class
24
25
26
27
28
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 1   Manuel J. Dominguez (pro hac vice)              Jeffrey J. Corrigan (pro hac vice)
     COHEN MILSTEIN SELLERS &                        Jeffrey L. Spector (pro hac vice)
 2   TOLL PLLC                                       Icee N. Etheridge (pro hac vice)
 3   11780 U.S. Highway One, Suite N500              SPECTOR ROSEMAN & KODROFF, P.C.
     Palm Beach Gardens, FL 33408                    2001 Market Street, Suite 3420
 4   Tel: 561-515-2604                               Philadelphia, PA 19103
     Fax: 561-515-1401                               Tel: 215-496-0300
 5   Email: jdominguez@cohenmilstein.com             Fax: 215-496-6611
                                                     Email: jcorrigan@srkattorneys.com
 6                                                           jspector@srkattorneys.com
 7                                                           ietheridge@srkattorneys.com

 8   Benjamin D. Brown (SBN 202545)                  Gary I. Smith, Jr. (SBN 344865)
     Daniel McCuaig (pro hac vice)                   Samuel Maida (SBN 333835)
 9   Zachary R. Glubiak (pro hac vice)               HAUSFELD LLP
     COHEN MILSTEIN SELLERS &                        600 Montgomery Street, Suite
10
     TOLL PLLC                                       3200 San Francisco, CA 94111
11   1100 New York Ave., Suite 500                   Tel: 415-633-1908
     Washington, DC 20005                            Fax: 415-358-4980
12   Tel: 202-408-4600                               Email: gsmith@hausfeld.com
     Fax: 202-408-4699                                       smaida@hausfeld.com
13   Email: bbrown@cohenmilstein.com
            dmccuaig@cohenmilstein.com
14
            zglubiak@cohenmilstein.com
15
     Christopher J. Bateman (pro hac vice)           Jeannine M. Kenney (pro hac vice)
16   COHEN MILSTEIN SELLERS &                        HAUSFELD LLP
     TOLL PLLC                                       325 Chestnut Street, Suite 900
17   88 Pine Street, 14th Floor                      Philadelphia, PA 19106
18   New York, NY 10005                              Tel: 215-985-3270
     Tel: 212-838-7797                               Fax: 215-985-3271
19   Fax: 212-838-7745                               Email: jkenney@hausfeld.com
     Email: cbateman@cohenmilstein.com
20
                                                     Reena A. Gambhir (pro hac vice)
21                                                   HAUSFELD LLP
22                                                   888 16th St NW
                                                     Washington, DC 20006
23                                                   Tel: 202-540-7145
                                                     Fax: 202-540-7201
24                                                   Email: rgambhir@hausfeld.com
25                 Interim Co-Lead Counsel for Plaintiffs and the Proposed Class
26
27
28
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